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UN|TED STATES D|STR|CT COURT F|l.ED B¥ _ 00
WESTERN D|STR|CT OF TENNESSEE "` ' ‘
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_v_ 2:04CR20100-02-Ml V¢YD O: ll`:’ l¢iEi..l?l-JHIC(.SIH

DARREN LEE MACL|N
Bi|l Anderson Jr. CJA
Defense Attorney
142 North Third Street
Memphis, TN 38103

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on December 2, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section lamm Offense Numberjsj
Conc|uded
18 U.S.C. § 1951 RObbery 10/25/2003 2

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 1, 3 and 4 dismissed on the motion of the United States.

iT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/16/1975 Ju|y 21, 2005
Deft’s U.S. Marshal No.: 19495-076

Defendant’s Mailing Address:
5738 Fau|kner Ridge

Memphls, TN 38134 ( O&Q‘
/@/-? 111
JoN PHlPPs MccALLA
NlT srATEs olsTRlcT Juer

Ju|y gi , 2005

This document entered on the docket sheet ih congollance
with Flu|e 55 and/or 32{b) FFiCrP on 2’35 'Q

 

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Case No: 2:04CR20100-02-M| Defendant Name: Darren Lee MACL|N Page 2 of 6
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 84 Months (or 7 Years).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. lVlarsha|

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Case No: 2:04CR20100-02-Ml Defendant Name: Darren Lee MACL|N Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit anotherfederai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation ofncer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:04CR20100-02-|Vl| Defendant Name: Darren Lee MACL|N Page 4 of 6

11.

12.

13.

law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

if thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penaliles sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

reiease:

1.

The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Ofi`ice.

The defendant shall cooperate with DNA collection as directed by the Probation Oftice.

The defendant shall seek and maintain full-time employment

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Totai Fine Total Restitution
$100.00 $328,500.00

The Speciai Assessment shall be due immediate|y.

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Case No: 2:04CR20100-02-M| Defendant Name: Darren Lee MACL|N Page 5 of 6
FiNE
No fine imposed.
*RESTITUT|ON

Restitution in the amount of $328,500.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

 

Priority
Totai Amount of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment

F|extronics, inc., $328,500.00 $328,500.00
Attn: Allan Haikieroad,
Controiier
6419 Sheiby View Drive

Memphis, TN 38119
*Restitution is to be paid joint and several with co-defendant Emmad Buhhur, Kybric
Lamario Dougias and Geraid Noi_'ghiet in case 2:04CR20100.

|fthe defendant makes a partial payment each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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Case No: 2:04CR20100-02-Nii Defendant Name: Darren Lee NlACLlN Page 6 of 6

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
- period of imprisonment All criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons’ inmate Financial Responsibiiity Program, are made to the clerk of the
court. unless othenivise directed by the court the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

     

UNITED `SATESDTISRICT COUR - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 210 in
case 2:04-CR-20100 Was distributed by faX, mail, or direct printing on
July 22, 2005 tc the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

William C. Anderson
ANDERSON LAW FIRM
142 North Third St.
Memphis7 TN 38103

Honcrable J on McCalla
US DISTRICT COURT

